            Case 3:22-cv-05246-RFL Document 63 Filed 01/19/24 Page 1 of 3


 Matthew S. Warren (State Bar No. 230565)
 22-5246@cases.warrenlex.com
 WARREN KASH WARREN LLP
 2261 Market Street, No. 606
 San Francisco, California, 94114
 +1 (415) 895-2940
 +1 (415) 895-2964 facsimile
 Attorneys for Defendant Google LLC


                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                         SAN FRANCISCO DIVISION



 LARRY GOLDEN,                             )                  Case No. 3:22-cv-05246-RFL
                                           )
    Plaintiff,                             )                  THIRD NOTICE OF PENDENCY OF
                                           )                  OTHER ACTIONS UNDER PATENT
 v.                                        )                  LOCAL RULE 2-1(a)
                                           )
 GOOGLE LLC,                               )
                                           )
        Defendant.                         )
 _________________________________________ )


          Under Patent L.R. 2-1(a), defendant Google LLC notifies the Court of other actions filed by

 plaintiff Larry Golden within two years of the complaint in this action, which involve one or more of the

 patents asserted in this action, U.S. Patent Nos. 9,096,189 (“the ’189 patent”); 9,589,439 (“the ’439

 patent”), 10,163,287 (“the ’287 patent”), and 10,984,619 (“the ’619 patent”).

 I.       Previous Notices of Pendency of Other Actions
          On December 6, 2022, Google filed a Notice of Pendency regarding the following related cases:

          Golden v. Qualcomm, Inc., Case No. 4:22-cv-03283-HSG (N.D. Cal.);
          Golden v. Intel Corp., Case No. 5:22-cv-03828-NC (N.D. Cal.);
          Golden v. Apple Inc., Case No. 3:22-cv-04152-VKD (N.D. Cal.);
          Golden v. Apple Inc., Case No. 6:20-cv-04353-BHH-KFM (D.S.C.); and
          Golden v. Google LLC, Case No. 6:21-cv-00244-JD-KFM (D.S.C.).

 Docket No. 30. On February 10, 2023, Google filed a second Notice of Pendency regarding Golden v.

 Samsung Electronics America, Inc., Case No. 3:23-cv-00048-WHO (N.D. Cal.). Docket No. 38.

                                                        –1–                        Case No. 3:22-cv-05246-RFL
_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                    THIRD NOTICE OF PENDENCY OF OTHER ACTIONS UNDER PATENT LOCAL RULE 2-1(a)
            Case 3:22-cv-05246-RFL Document 63 Filed 01/19/24 Page 2 of 3


 II.      Golden v. United States, Case No. 1:23-cv-00811-EGB (Fed. Cl.)
          On May 31, 2023, Mr. Golden filed Golden v. United States, alleging infringement of the ’189

 patent, ’439 patent, and ’287 patent. No. 23-811C, Docket No. 1 ¶ 2 (Fed. Cl.). In Golden v. United

 States, Mr. Golden alleges that the Defense Threat Reduction Agency “required the contractors of

 Draper, Microsoft, Intel, Hewlett Packard, Google, Apple, Samsung, LG, and Qualcomm to integrate

 ‘for the Government’ its, hazard-awareness-and-response tools into the ATAK, iTAK, and WinTAK for

 chemical and biological agents and radiological and nuclear threats (CBRN) detection and reporting.”

 Id., Docket No. 1 ¶ 22.

          On June 20, 2023, Mr. Golden filed a motion for summary judgment. Golden v. United States,

 No. 23-811C, Docket No. 9. On July 14, the United States filed a motion to dismiss under Fed. R. Civ.

 P. 12(b)(6), id., Docket No. 10, as well as a motion to stay briefing on Mr. Golden’s motion for summary

 judgment. Id., Docket No. 11. On July 31, the Court granted the United States’ motion to stay, holding

 that “[b]ecause we view the motion for summary judgment as premature and due to the pendency of the

 motion to dismiss, defendant’s motion to stay briefing of plaintiff’s motion for summary judgment is

 granted.” Id., Docket No. 18, slip op. at 1.

          On July 24, 2023, Mr. Golden filed a motion to strike the United States’ motion to dismiss. Id.,

 Docket No. 13 at 1. On July 31, 2023, the Court denied this motion, holding that “[b]ecause plaintiff

 has not shown an improper purpose or that the motion to dismiss was filed in violation of the rules, his

 motion to strike is denied.” Id., Docket No. 18, slip op. at 1. The United States’ motion to dismiss, as

 well as other motions brought by Mr. Golden, remain pending.

 Date: January 19, 2024                               Respectfully submitted,

                                                      _______________________________________
                                                      Matthew S. Warren (State Bar No. 230565)
                                                      WARREN KASH WARREN LLP
                                                      2261 Market Street, No. 606
                                                      San Francisco, California, 94114
                                                      +1 (415) 895-2940
                                                      +1 (415) 895-2964 facsimile
                                                      22-5246@cases.warrenlex.com

                                                      Attorneys for Defendant Google LLC


                                                        –2–                        Case No. 3:22-cv-05246-RFL
_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                    THIRD NOTICE OF PENDENCY OF OTHER ACTIONS UNDER PATENT LOCAL RULE 2-1(a)
            Case 3:22-cv-05246-RFL Document 63 Filed 01/19/24 Page 3 of 3


                                       CERTIFICATE OF SERVICE
 I, Francesca Miki Shima Germinario, certify as follows under 28 U.S.C. § 1746:

          I am an attorney at Warren Kash Warren LLP and admitted to practice before this Court. My

 business address is 2261 Market Street, No. 606, San Francisco, California, 94114. On January 19,

 2024, I served the foregoing Third Notice of Pendency of Other Actions Under Patent Local Rule

 2-1(a) on the plaintiff by First Class Mail at the following address:

          Larry Golden
          740 Woodruff Road, No. 1102
          Greenville, South Carolina, 29607
 by placing it in a sealed envelope with postage paid and placing the envelope in the exclusive custody

 of the United States Postal Service.

          On the same day, I also sent a courtesy copy of this document by electronic mail to Mr. Golden

 at atpg-tech@charter.net.

          I certify under penalty of perjury that the foregoing is true and correct. Executed on January

 19, 2024, at San Francisco, California.

                                                                  ________________________________
                                                                  Francesca M. S. Germinario




                                                        –3–                        Case No. 3:22-cv-05246-RFL
_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                    THIRD NOTICE OF PENDENCY OF OTHER ACTIONS UNDER PATENT LOCAL RULE 2-1(a)
